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             In the United States Court of Federal Claims
                                       No. 19-1796C

                                 (E-filed: January 7, 2020)

                                            )
 AMAZON WEB SERVICES, INC.,                 )
                                            )
                Plaintiff,                  )
                                            )
 v.                                         )
                                            )
 THE UNITED STATES,                         )
                                            )
                Defendant,                  )
                                            )
 and                                        )
                                            )
 MICROSOFT CORP.,                           )
                                            )
               Intervenor-defendant.        )
                                            )

                      SECOND AMENDED PROTECTIVE ORDER

       The court finds that certain information likely to be disclosed orally or in writing
during the course of this litigation may be competition-sensitive or otherwise protectable
and that entry of a Protective Order is necessary to safeguard the confidentiality of that
information. Accordingly, the parties shall comply with the terms and conditions of this
Protective Order.

                                                I.

1.     Protected Information Defined. “Protected information” as used in this order
       means information that must be protected to safeguard the competitive process,
       including source selection information, proprietary information, and confidential
       information contained in:

       (a)     any document (e.g., a pleading, motion, brief, notice, or discovery request
               or response) produced, filed, or served by a party to this litigation; or
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     (b)    any deposition, sealed testimony or argument, declaration, or affidavit
            taken or provided during this litigation.

2.   Restrictions on the Use of Protected Information. Protected information may be
     used solely for the purposes of this litigation and may not be given, shown, made
     available, discussed, or otherwise conveyed in any form except as provided herein
     or as otherwise required by federal statutory law.

                                           II.

3.   Individuals Permitted Access to Protected Information. Except as provided in
     paragraphs 7 and 8 below, the only individuals who may be given access to
     protected information are counsel for a party and independent consultants and
     experts assisting such counsel in connection with this litigation.

4.   Applying for Access to Protected Information. An individual seeking access to
     protected information pursuant to Appendix C, Section VI of this court’s rules
     must read this Protective Order; must complete the appropriate application form
     (Form 9—“Application for Access to Information Under Protective Order by
     Outside or Inside Counsel,” or Form 10—“Application for Access to Information
     Under Protective Order by Expert Consultant or Witness”); and must file the
     executed application with the court.

5.   Objecting to an Application for Admission. Any objection to an application for
     access must be filed with the court within two (2) business days of the objecting
     party’s receipt of the application.

6.   Receiving Access to Protected Information. If no objections have been filed by the
     close of the second business day after the other parties have received the
     application, the applicant will be granted access to protected information without
     further action by the court. If any party files an objection to an application, access
     will only be granted by court order.

7.   Access to Protected Information by Court, Department of Justice, and Other
     Government Personnel. Personnel of the court and other Government personnel
     are automatically subject to the terms of this Protective Order and are entitled to
     access to protected information without further action.

8.   Access to Protected Information by Support Personnel. Paralegal, clerical, and
     administrative support personnel assisting any counsel who has been admitted
     under this Protective Order may be given access to protected information by such
     counsel if those personnel have first been informed by counsel of the obligations
     imposed by this Protective Order.

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                                           III.

9.    Identifying Protected Information. Protected information may be provided only to
      the court and to individuals admitted under this Protective Order and must be
      identified as follows:

      (a)    if provided in electronic form, the subject line of the electronic transmission
             shall read “CONTAINS PROTECTED INFORMATION”; or

      (b)    if provided in paper form, the document must be sealed in a parcel
             containing the legend “PROTECTED INFORMATION ENCLOSED”
             conspicuously marked on the outside. The first page of each document
             containing protected information, including courtesy copies for use by the
             judge, must contain a banner stating “Protected Information to Be
             Disclosed Only in Accordance With the U.S. Court of Federal Claims
             Protective Order” and the portions of any document containing protected
             information must be clearly identified.

10.   Filing Protected Information. Pursuant to this order, a document containing
      protected information may be filed electronically under the court’s electronic case
      filing system using the appropriate activity listed in the “SEALED” documents
      menu. If filed in paper form, a document containing protected information must be
      sealed in the manner prescribed in paragraph 9(b) and must include as an
      attachment to the front of the parcel a copy of the certificate of service identifying
      the document being filed.

11.   Protecting Documents Not Previously Sealed. If a party determines that a
      previously produced or filed document contains protected information, the party
      may give notice in writing to the court and the other parties that the document is to
      be treated as protected, and thereafter the designated document must be treated in
      accordance with this Protective Order.

                                           IV.

12.   Redacting Protected Documents For the Public Record.

      (a)    Initial Redactions. After filing a document containing protected information
             in accordance with paragraph 10, or after later sealing a document pursuant
             to paragraph 11, a party must promptly serve on the other parties a
             proposed redacted version marked “Proposed Redacted Version” in the
             upper right-hand corner of the first page with the claimed protected
             information deleted.


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      (b)    Additional Redactions. If a party seeks to include additional redactions, it
             must advise the filing party of its proposed redactions within two (2)
             business days after receipt of the proposed redacted version, or such other
             time as agreed upon by the parties. The filing party must then provide the
             other parties with a second redacted version of the document clearly
             marked “Agreed-Upon Redacted Version” in the upper right-hand corner
             of the page with the additional information deleted.

      (c)    Final Version. Within thirty days of the expiration of the period noted in (b)
             above, or after an agreement between the parties has been reached
             regarding additional redactions, the filing party must file with the court the
             final redacted version of the document clearly marked “Redacted Version”
             in the upper right-hand corner of the first page. This document will be
             available to the public.

      (d)    Objecting to Redactions. Any party at any time may object to another
             party’s designation of certain information as protected. If the parties are
             unable to reach an agreement regarding redactions, the objecting party may
             submit the matter to the court for resolution. Until the court resolves the
             matter, the disputed information must be treated as protected.

                                            V.

13.   Copying Protected Information. No party, other than the United States, may for its
      own use make more than ten (10) copies of a protected document received from
      another party, except with the consent of all other parties. A party may make
      additional copies of such documents, however, for filing with the court, service on
      the parties, or use in discovery and may also incorporate limited amounts of
      protected information into its own documents or pleadings. All copies of such
      documents must be clearly labeled in the manner required by paragraph 9.

14.   Waiving Protection of Information. A party may at any time waive the protection
      of this order with respect to any information it has designated as protected by
      advising the court and the other parties in writing and identifying with specificity
      the information to which this Protective Order will no longer apply.

15.   Safeguarding Protected Information. Any individual admitted under this Protective
      Order must take all necessary precautions to prevent disclosure of protected
      information, including but not limited to physically securing, safeguarding, and
      restricting access to the protected information.




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15.1. Special Handling of Protected Information Subject to Security Restrictions.

      (a)    Those documents or portions of documents filed by the United States that
             contain classified information shall be filed under seal with the court
             through the Classified Information Security Officer or his designee. Such
             pleadings and documents shall be marked, “Filed In Camera and Under
             Seal with the Classified Information Security Officer.” The date and time of
             physical submission to the Classified Information Security Officer or his
             designee shall be considered the date and time of filing and should occur no
             later than 4 p.m. At the time of making a physical submission to the
             Classified Information Security Officer or his designee, the government
             shall file on the public record in the CM/ECF system a notice of filing that
             notifies the Court that a filing has been made with the Classified
             Information Security Officer. The notice should contain only unclassified
             information about the filing, and shall not contain any classified
             information. The Classified Information Security Officer shall immediately
             deliver, under seal, to the Court any document filed by the government that
             contains classified information.

      (b)    Plaintiff and defendant-intervenor may access classified information only in
             a designated facility approved by the Classified Information Security
             Officer or his designee.

      (c)    All persons admitted to the protective order agree to permit access to the
             classified protest documents only to (i) cleared individuals who are
             admitted to the protective order; (ii) designated facility security/IT
             personnel; and (iii) appropriately cleared couriers.

      (d)    Only those legal counsel who are admitted under the protective order may
             access protected material within any designated facility. The designated
             facility security personnel will receive, view, mark, and maintain the
             material and be able to open/close the container as part of their
             responsibilities over the site and the designated IT personnel may assist
             with IT-related issues.

      (e)    Plaintiff and defendant-intervenor shall store protected material being
             reviewed within the Restricted Areas in containers with combination locks
             (the same type of storage containers used for classified materials) for which
             only that plaintiff’s and defendant-intervenor’s counsel admitted under the
             protective order would have the combination, with the understanding that
             the designated facility security personnel will also have this combination so
             that they can receive, view, mark, and maintain the material and be able to
             open/close the container as part of their responsibilities over the site.

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      (f)    Plaintiff and defendant-intervenor shall maintain materials produced in
             electronic form on one or more Agency-approved hard drives or Agency-
             approved laptop computers for use by plaintiff’s and defendant-intervenor’s
             counsel admitted under the protective order on computers in the designated
             Restricted Areas. When not in use, removable internal or external hard
             drive(s) and/or laptop computers will be stored in a locked container.
             Internal non-removable hard drives within desktop computers will remain
             inside the applicable desktop computer within the designated Restricted
             Areas, or a segregated enclosed space within its Restricted Areas.

      (g)    Plaintiff and defendant-intervenor may reproduce protected material within
             a designated Restricted Area. However, plaintiff and defendant-intervenor
             shall not maintain more than one physical (i.e., “hard”) copy of any
             classified protected document per attorney (in house or outside) and
             consultant admitted to the protective order.

      (h)    Plaintiff and defendant-intervenor shall destroy all protected classified
             materials, to include any media, hard drives and servers, at the close of the
             case under the direction of the agency and supervision of plaintiff’s and
             defendant-intervenor’s counsel admitted under the protective order.

      (i)    Plaintiff and defendant-intervenor shall file all motions, briefs, letters,
             notices, etc., that they believe to contain classified information with the
             Court’s designated Classified Information Security Officer or his designee.
             The designated Classified Information Security Officer shall provide one
             copy in paper format to the other parties and two copies to the Court.

16.   Breach of the Protective Order. If a party discovers any breach of any provision of
      this Protective Order, the party must promptly report the breach to the other parties
      and immediately take appropriate action to cure the violation and retrieve any
      protected information that may have been disclosed to individuals not admitted
      under this Protective Order. The parties must reasonably cooperate in determining
      the reasons for any such breach.

17.   Seeking Relief From the Protective Order. Nothing contained in this order shall
      preclude a party from seeking relief from this Protective Order through the filing
      of an appropriate motion with the court setting forth the basis for the relief sought.



                                            VI.


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18.   Maintaining Filed Documents Under Seal. The court will maintain properly
      marked protected documents under seal throughout this litigation.

19.   Retaining Protected Information After the Termination of Litigation. Upon
      conclusion of this action (including any appeals and remands), the original version
      of the administrative record and any other materials that have been filed with the
      court under seal will be retained by the court pursuant to RCFC 77.3(c). Copies of
      such materials may be returned by the court to the filing parties for disposition in
      accordance with paragraph 20 of this Protective Order.

20.   Disposing of Protected Information. Within thirty (30) days after the conclusion of
      this action (including any appeals and remands), each party must destroy all
      protected information received pursuant to this litigation and certify in writing to
      each other party that such destruction has occurred or must return the protected
      information to the parties from which the information was received. With respect
      to protected electronically stored information (ESI) stored on counsel’s computer
      network(s), destruction of such ESI for purposes of compliance with this
      paragraph shall be complete when counsel takes reasonable steps to delete all such
      ESI from the active email system (such as, but not limited to, the “Inbox,” “Sent
      Items,” and “Deleted Items” folders) of admitted counsel and of any personnel
      who received or sent emails with protected information while working under the
      direction and supervision of such counsel, and by deleting any protected ESI from
      databases under counsel’s control. Compliance with this paragraph does not
      require counsel to search for and remove ESI from any computer network back-up
      tapes, disaster recovery systems, or archival systems. Each party may retain one
      copy of such documents, except when the retention of additional copies is required
      by federal law or regulation, provided those documents are properly marked and
      secured.

      IT IS SO ORDERED.

                                         s/Patricia E. Campbell-Smith
                                         PATRICIA E. CAMPBELL-SMITH
                                         Judge




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